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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA                                         CIVIL ACTION

    VERSUS                                                           NO. 12-1924

    CITY OF NEW ORLEANS                                              SECTION: “E” (2)



                                    RULE TO SHOW CAUSE
           On July 24, 2012, the United States filed the complaint in this matter against the

City of New Orleans (“City”), seeking declaratory and injunctive relief after an extensive

investigation of the New Orleans Police Department (“NOPD”),1 pursuant to the Violent

Crime Control and Law Enforcement Act, 42 U.S.C. § 14141 (“Section 14141”); the

Omnibus Crime Control and Safe Streets Act of 1968, 42 U.S.C. § 3789d (the “Safe Streets

Act”); and Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d to 2000d-7, and its

implementing regulations, 28 C.F.R. §§ 42.101-.112 (“Title VI”). The Consent Decree

contains detailed provisions concerning changes in NOPD policies and practices related

to: (1) the use of force; (2) investigatory stops and detentions, searches, and arrests; (3)

custodial interrogations; (4) photographic lineups; (5) bias-free policing; (6) community

engagement; (7) recruitment; (8) training; (9) officer assistance and support; (10)

performance evaluations and promotions; (11) supervision; (12) the secondary

employment system, also known as the paid detail system; (13) misconduct complaint

intake, investigation, and adjudication; and (14) transparency and oversight. In addition,




1   R. Doc. 1 at ¶¶ 1, 14-16.

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the Consent Decree includes detailed provisions regarding the implementation and

enforcement of the Consent Decree.

       On that same day, July 24, 2012, the City and the United States Department of

Justice (“DOJ”) filed a Joint Motion and Memorandum for Entry of Consent Decree.2 On

September 14, 2012, the City and DOJ filed a Joint Supplemental Motion for Entry of

Consent Decree incorporating certain agreed upon modifications to the Consent Decree.3

The Consent Decree “is effectuated pursuant to the authority granted to DOJ under

Section 14141, the Safe Streets Act, and Title VI to seek declaratory or equitable relief to

remedy a pattern or practice of conduct by law enforcement officers that deprives

individuals of rights, privileges, or immunities secured by the Constitution or federal

law.”4 The Court approved the Joint Motion for Entry of Consent Decree, as amended, on

January 11, 2013.5 The Court specifically retained jurisdiction over this matter, including

but not limited to the right to interpret, amend, and enforce the Consent Decree until the

final remedy contemplated by the Consent Decree has been achieved.6

       The Supreme Court has “long recognized that a district court possesses inherent

powers that are ‘governed not by rule or statute but by the control necessarily vested in

courts to manage their own affairs so as to achieve the orderly and expeditious disposition

of cases.’”7 The Fifth Circuit notes that one inherent power flowing from Article III of the

U.S. Constitution is a court’s “power ‘to control the disposition of the causes on its docket




2 R. Doc. 2.
3 R. Doc. 114.
4 R. Doc. 159-1 at 7.
5 R. Doc. 159.
6 R. Doc. 159 at 8.
7 Dietz v. Bouldin, 579 U.S. 40, 45 (2016) (quoting Link v. Wabash R. Co., 370 U.S. 626, 630–631 (1962)

and citing United States v. Hudson, 7 Cranch 32, 34 (1812)).

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with economy of time and effort for itself, for counsel, and for litigants.”8 “[T]his power

fits most appropriately in the . . . second category of inherent powers[, which]

encompasses those ‘necessary to the exercise of all others.’ For the most part, these

powers are those deemed necessary to protect the efficient and orderly administration of

justice and those necessary to command respect for the court’s orders, judgments,

procedures, and authority.”9

        “[A] consent decree, although founded on the agreement of the parties, is a

judgment.”10 “[A] consent decree is a ‘settlement agreement subject to continued judicial

policing.’”11 “It is well-settled that a federal court has the inherent authority to enforce its

own orders, including consent decrees agreed to by parties and approved by the Court.”12

“‘[T]he [C]ourt has an independent duty to ensure that the terms of the decree are

effectuated.’”13 “Exactly how a court should enforce and protect its orders is an issue

largely left to the discretion of the court entering the order, so long as that discretion is

exercised reasonably.”14 District courts have the power to hold parties to the terms of a

consent decree and have wide discretion to implement remedies for decree violations,

including holding the parties in civil contempt.15



8 In re Stone, 986 F.2d 898, 903 (5th Cir. 1993) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)).
9 Id. at 902–03.
10 United States v. City of Miami, 664 F.2d 435, 439 (5th Cir. 1981) (Rubin, J., concurring) (citing United

States v. Kellum, 523 F.2d 1284, 1287 (5th Cir. 1975).
11 Vanguards of Cleveland v. City of Cleveland, 23 F.3d 1013, 1017 (6th Cir. 1994) (quoting Williams v.

Vukovich, 720 F.2d 909, 920 (6th Cir. 1983)).
12 Chisom v. Jindal, 890 F.Supp.2d 696, 710 (E.D. La. Sept. 1, 2012) (Morgan, J.) (citing United States v.

Alcoa, Inc., 533 F.3d 278, 287 (5th Cir. 2008)).
13 Sweeton v. Brown, 1991 WL 181751, at *6 (6th Cir. Sept. 17, 1991) (quoting 10 CYCLOPEDIA OF FEDERAL

PROCEDURE § 35.25 at 294 (3d ed. 1984) (citing Stotts v. Memphis Fire Dep't, 679 F.2d 541 (6th Cir. 1982),
rev'd on other grounds sub. nom. Firefighters Local Union No. 1784 v. Stotts, 467 U.S. 561 (1984))); see
also R. Doc. 565 at p. 122, ¶ 486 (imposing a duty on the Court to “ensure that the requirements of th[e]
[Consent Decree] are properly and timely implemented”).
14 Chisom, 890 F.Supp.2d at 711; see also Alcoa, 533 F.3d at 287 (“Discretion must be left to a court in the

enforcement of its decrees.” (cleaned up)).
15 Alcoa, 533 F.3d at 286.



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       Two concerns are addressed by this Rule to Show Cause. First, the Court addresses

specific issues stemming from an email sent to the New Orleans Police Department’s

Public Integrity Bureau (“PIB”) by a member of the news media, which PIB correctly

treated as a complaint.16 The author of the email questioned whether, among other things,

a member of the Mayor’s executive security detail (Officer Jeffrey Vappie) engaged in

payroll fraud, violated NOPD’s daily hours limitations, and acted unprofessionally by

spending extensive hours alone with his protectee in the City’s Upper Pontalba apartment

while he was both on and off duty. Upon receipt of the email, PIB promptly opened an

administrative investigation.

       In accordance with the terms of the Consent Decree, the Monitor, in cooperation

with the Office of the Independent Police Monitor, monitored the PIB investigation.

Although the complaint initiating the investigation centered on Officer Vappie’s conduct,

the Monitor’s review focused on PIB’s compliance with the Consent Decree in the course

of the Officer Vappie investigation.

       On March 10, 2023, PIB issued its Investigation Report on Officer Vappie.17 Upon

review of the PIB Investigation Report, the Monitor acknowledged that the PIB

investigators took their task seriously and conducted meaningful witness interviews, but

the Monitor nevertheless identified multiple material flaws in PIB’s investigation,

particularly in the analysis included in PIB’s report. Among other things, the Monitor

found that PIB, in violation of the clear terms of the Consent Decree, did not include in

the complaint intake form an allegation of payroll fraud and, as a result, did not fully

investigate the payroll fraud allegation, did not give the payroll fraud allegation a


16 Consent Decree ¶ 390 (“NOPD agrees to accept all misconduct complaints, including anonymous and
third-party complaints, for review and investigation. . . .”).
17 R. Doc. 714-4.



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disposition, did not document its analysis of the payroll fraud allegation, did not apply

the correct legal standard to all of its findings, and did not make a credibility

determination regarding Officer Vappie. The Monitor shared these and other findings

with the parties and the Court in its May 3, 2023 Report (“Monitor’s PIB Report”).18 The

City filed a response to the Monitor’s PIB Report.19

        After the PIB investigation of Officer Vappie was complete, the Monitor issued its

June 15, 2023 Special Report on PIB’s handling of the Vappie investigation (the

“Monitor’s Vappie Investigation Report”), noting that “the NOPD’s response to the

Monitoring Team’s analysis raises serious concerns that we believe require the Court’s

immediate attention.”20 The City filed a response to the Monitor’s Vappie Investigation

Report.21 DOJ’s response to the Monitor’s Vappie Investigation Report followed shortly

thereafter.22 In its Response, DOJ expressed its agreement with the Monitor’s

conclusions.23

        On Thursday, June 21, 2023, this Court held a public status conference to hear

from the Monitor regarding its review of PIB’s handling of the administrative

investigation into allegations against Officer Vappie.24 The Court heard from the Monitor,

DOJ, and the City. The Court reviewed all pertinent documents in advance of the status

conference.




18 R. Doc. 694.
19 R. Doc. 697.
20 R. Doc. 714.
21 R. Doc. 718.
22 R. Doc. 715.
23 Id. at 4.
24 R. Doc. 726.



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        At the public status conference, the Monitor presented substantial evidence of

numerous Consent Decree violations by the City in the course of the PIB investigation of

Officer Vappie.25 The Monitor presented evidence that:

        1. The City and NOPD violated Consent Decree paragraph 399 – NOPD failed to
           include each factual allegation in the complaint intake form.

        2. The City and NOPD violated Consent Decree paragraph 415 – NOPD failed to
           identify and recommend one of the required dispositions (unfounded,
           sustained, not sustained, exonerated) for each factual allegation.

        3. The City and NOPD violated Consent Decree paragraph 414 – NOPD failed to
           reach a conclusion as to whether each allegation had or had not been proven by
           a preponderance of the evidence.

        4. The City and NOPD violated Consent Decree paragraph 413 – PIB failed to
           consider all circumstantial evidence and failed to make credibility
           determinations for each witness. Specifically, PIB failed to make a credibility
           determination with respect to Officer Vappie.

        5. The City and NOPD violated Consent Decree paragraph 454 – NOPD failed to
           provide its report to the Monitor prior to closing its investigation to allow the
           monitor time to review and make recommendations regarding the need for
           further investigation.26

        6. The City and NOPD violated Consent Decree paragraphs 470 and 472 – NOPD
           failed to provide the Monitor reasonable access to all individuals, facilities, and
           documents relevant to the investigation.

        7. The City and NOPD violated Consent Decree paragraphs 409 and 419 – NOPD
           failed to take appropriate steps to maintain the confidentiality of the
           investigation.

        8. The City and NOPD violated Consent Decree paragraphs 306 and 313 – NOPD
           failed to investigate and hold supervisors accountable for any lack of
           supervision.

        In its written response to the Monitor’s Vappie Investigation Report, the City

denied that violations of the Consent Decree had occurred and, as proof, asserted that the



25Id.
26Toward the end of the PIB investigation, the Monitor requested certain documents from the NOPD,
including a copy of the draft PIB investigation report. The NOPD refused to share a copy when requested.

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Officer Vappie investigation proceeded in just the same manner as any other

investigation. For example, with respect to Officer Vappie’s return to the Mayor’s security

detail on December 21, 2022, the City provided several affidavits and asserted that “it is

NOPD standard practice that during an administrative investigation by PIB that the

officer is returned to active duty—i.e., the officer is taken off ‘administrative

reassignment.’ This occurs via an NOPD form from PIB to the head of the Bureau the

officer was reassigned from when the investigation began. The Bureau Chief, or

Superintendent, then determines where the officer will be assigned.”27 The City also

asserted Officer Vappie “cannot be subjected to a different process or receive different

discipline than any other NOPD officer simply because he is on a mayor’s EP team.”28 At

the public status conference, counsel for the City reiterated that the Officer Vappie

investigation was conducted just as any other investigation would be.29 Counsel for the

City stressed that the functioning of PIB is “at the heart of NOPD’s ability to prevent

misconduct, build trust among its officers, and build community trust. . . . It is critically

important that each officer receive the exact same treatment no matter where the

complaint arises, no matter what their role is . . . and that is exactly what the PIB

investigators in this case did. They [PIB] applied the exact same tools, techniques, and

procedures [to Officer Vappie] they always apply.”30 Because of the assertions made by

the City, a determination of whether the City violated the Consent Decree in the course of

the Officer Vappie investigation must include an examination of whether, as the City

repeatedly asserts, he was treated exactly as any other NOPD officer.



27 R. Doc. 718 at 17.
28 Id. at 27.
29 R. Doc. 726.
30 Id. at pp. 63-64.



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        To support its argument, counsel for the City referenced a variety of policies,

standard operating procedures, and practices related to the eight violations listed by the

Monitor. The Court summarizes the City’s statements below, followed by the documents

now ordered by the Court to be produced to allow the Court to evaluate whether the City

has violated the Consent Decree:

        1.      In the context of its discussion of Consent Decree paragraph 399, the City
                stated that PIB routinely does not fully investigate or document all factual
                allegations of misconduct if the lead investigator makes an early
                determination that the allegation lacks merit. The City stated NOPD intends
                to continue this practice notwithstanding the clear requirement in the
                Consent Decree that all allegations be accepted, recorded and investigated.31

                The Court directs the City to provide any policy, directive, or standard
                operating procedure that authorizes NOPD’s practice and supports its
                stated intention to continue this practice.

        2.      In the context of its discussion of Consent Decree paragraph 415, the City
                stated NOPD did not give the payroll fraud allegation an analysis or
                disposition because the lead investigator did not think the initial evidence
                warranted it. The City went on to state that it is a routine practice of PIB not
                to fully analyze and give dispositions to all allegations.32

                The Court directs the City to provide any policy, directive, or standard
                operating procedure that authorizes what the City describes as its routine
                practice.

        3.      The City represented to the Court that it is the routine practice of NOPD to
                assign officers to the Orleans Parish Communications District (OPCD)
                while they are on administrative leave pending a PIB administrative
                investigation.33

                The Court directs the City to provide policies, standard operating
                procedures, or other documentation that authorizes what the City
                describes as its routine practice, including concrete examples of when this
                has occurred previous to the Officer Vappie investigation.




31 R. Doc. 718 at 25.
32 Id.
33 R. Doc. 726 at 85-86.



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        4.       The City stated it is NOPD’s standard practice to reassign officers back to
                 their original duty locations at some point after the opening of an
                 administrative investigation.34

                 The Court directs the City to provide the policy, directive, or standard
                 operating procedure authorizing such reassignments and to provide
                 information regarding any event that occurred on or around December 21,
                 2022 that led to Officer Vappie being reassigned on that date.

        5.       The City represented that it is standard practice for the bureau to which an
                 officer under investigation has been reassigned to then immediately
                 further reassign that officer to a different duty location.35

                 The Court directs the City to provide the policy, directive, or standard
                 operating procedure that authorizes this practice, including concrete
                 examples of when this has occurred previous to the Officer Vappie
                 investigation.

        6.       The City represented that Officer Vappie’s reassignments were handled
                 according to policy.36

                 The Court directs the City to provide all paperwork regarding Officer
                 Vappie’s various reassignments over the course of his PIB investigation,
                 including the paperwork reflecting his initial reassignment to OPCD
                 (including paperwork showing who approved the reassignment), his
                 reassignment (including paperwork showing who approved the
                 reassignment) back to executive protection on December 21, 2022, his
                 reassignment out of executive protection into Assets and Forfeitures on
                 December 21 or 22, 2022 (including paperwork showing who approved the
                 reassignment), and his reassignment to executive protection detail in June
                 2023 (including paperwork showing who approved the reassignment).

                 The Court also directs the City to provide all policies, directives, and
                 standard operating procedures that authorize the manner in which Officer
                 Vappie’s reassignments were handled.

        7.       In its June 15th report, the Monitor took issue with the March 10, 2023 PIB
                 Vappie Investigation Report because it was not reviewed or signed by the
                 Superintendent, but instead was signed “for” the Superintendent by the
                 Deputy Chief of PIB. Counsel for the NOPD represented in the
                 Department’s original response to the Monitoring Team’s PIB report that
                 this practice is “loosely described in old policies” and “subject to various




34 R. Doc. 718 at 17; R. Doc. 726 at 81.
35 R. Doc. 718 at 17-18; R. Doc. 726 at 83.
36 R. Doc. 718 at 18.



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                interpretations.” NOPD went on to say it is “reviewing to determine [the
                policy’s] utility at this stage.”37

                The Court directs the City to provide the “old policies” that “loosely
                describe” the practice referenced in the NOPD’s response.

        The second concern addressed by this Rule to Show Cause is the timeliness of PIB’s

investigations and imposition of discipline, both of which were raised in the Monitor’s

PIB Report, Vappie Investigation Report, 2022 Annual Report (published in 2023),38 and

2023 First Quarter Report.39 The timeliness of the City’s notification of the outcome of an

investigation also is of concern. The Monitor reached several conclusions regarding these

topics. Specifically, the Monitor concluded that:

        1. The City and NOPD violated Consent Decree paragraph 403 by failing to ensure
           that all administrative investigations conducted by PIB shall be completed within
           the time limitations mandated by state law and within 90 days of the receipt of the
           complaint, including assignment, investigation, review, and final approval, unless
           granted an extension as provided for under state law or Civil Service exemption, in
           which case the investigation shall be completed within 120 days. Further, where
           an allegation is sustained, NOPD shall have 30 days to determine and impose the
           appropriate discipline, except in documented extenuating circumstances, in which
           case discipline shall be imposed within 60 days.40

        2. The City and NOPD violated Consent Decree paragraph 420 by failing to ensure
           that each misconduct complainant be notified of the outcome of the investigation,
           in writing, within 10 business days of the completion of the investigation, including
           whether any disciplinary or non-disciplinary action was taken.41

        The City and NOPD do not contest the Monitor’s findings with respect to the

timeliness of investigations and imposition of discipline or the timeliness of notification

to complainants of the outcome of investigations.42 Instead, they state that these

paragraphs “are being addressed and have been addressed and the non-compliant nature



37 R. Doc. 697 at 4.
38 R. Doc. 674.
39 R. Doc. 702.
40 R. Doc. 694 at 30.
41 Id. at 32.
42 R. Doc. 697 at 5.



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reflects the audited period only and not our current compliance.”43 Despite the City’s

repeated assurances that the timeliness of PIB investigations, its imposition of discipline,

and the notification of complainants is being addressed, the Court has seen no evidence

that these clear violations of the Consent Decree are being corrected. Instead, the

violations remain with no resolution in sight.

         The New Orleans Police Department Consent Decree is an Order of this Court. This

Court has an independent duty to ensure that the terms of its Order are effectuated in an

expeditious manner. To preserve the procedures necessary to command respect for the

Court’s Order and its authority, the Court finds it necessary to issue this Rule to Show

Cause.

         The City is required to appear in Court on the 16th day of August 2023 at 2:00

p.m. to show cause why it should not be found to have violated (1) the eight provisions of

the Consent Decree with respect to the conduct of PIB investigations, as set forth above,44

and (2) the provisions of the Consent Decree regarding timeliness of investigations,

imposition of discipline, and notification of complainants.45 The City and DOJ may, upon

notice to the Court by August 11, 2023, present live testimony at the hearing. A finding

that the City has not shown cause why it should not be found to be in violation of these

provisions of the Consent Decree may, after notice and hearing, result in the City being

held in contempt of Court and sanctioned.




43 R. Doc. 697 at 6.
44  See the listing of violations on page 6. To the extent the City concedes it has violated any of these
provisions of the Consent Decree, the City will not be subject to sanction so long as it has remedied the
violations and produces the policies, training, and operational procedures put in place to ensure that future
violations will not occur.
45 See the listing of violations on page 10.



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           The City must file a pre-hearing memorandum, not to exceed twenty-five pages

excluding attachments, on or before August 4, 2023, addressing the issues raised above

and attaching the documents the City has been ordered to produce46 and any additional

documents the City wishes to rely on at the Show Cause hearing.

           The DOJ must file a pre-hearing memorandum, not to exceed twenty-five pages

excluding attachments, on or before August 11, 2023, addressing the issues raised above

and attaching any documents it wishes to rely on at the Show Cause hearing.

           New Orleans, Louisiana, this 21st day of July, 2023.47




                                                     ________________________________
                                                               SUSIE MORGAN
                                                       UNITED STATES DISTRICT JUDGE




46   See the /listing on pages 8-10.
47   This rule is limited to violations concerning the operations of the Public Integrity Bureau.

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